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                                   8                                      UNITED STATES DISTRICT COURT

                                   9                                     NORTHERN DISTRICT OF CALIFORNIA

                                  10                                            San Francisco Division

                                  11        ROCHELLE NICOLE RODRIGUEZ,                        Case No. 4:20-cv-07073-YGR (LB)
                                            individually, and as Personal Representative      (Consolidated Case No. 4:21-cv-01527-
                                  12        of the Estate of JAMAL MARQUEZ
Northern District of California




                                                                                              YGR (LB))
 United States District Court




                                            JORDAN, Deceased,
                                  13                                                          DISCOVERY ORDER
                                                            Plaintiff,
                                  14                                                          Re: ECF No. 140
                                                       v.
                                  15
                                            SEABREEZE JETLEV LLC, SEABREEZE
                                  16        JET SKI, LLC, and H2O SPORTS
                                            HAWAII, LLC,
                                  17
                                                            Defendants.
                                  18
                                  19         The district judge referred all discovery matters to the undersigned.1 The defendants filed a
                                  20   motion to compel certain deposition testimony and the production of documents and asked the
                                  21   court to order counsel for the deponents to pay for the cost of new depositions.2 The defendants’
                                  22   counsel met and conferred with counsel for the deponents, but the parties to this discovery dispute
                                  23   did not filed a joint letter, which is required by the undersigned’s standing order.3
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                                        Order Regarding Admin. Mot. Pursuant to L.R. 7-11 – ECF No. 87. Citations refer to material in the
                                  26   Electronic Case File (ECF); pinpoint citations are to the ECF-generated page numbers at the top of
                                       documents.
                                  27   2
                                           Mot. to Compel – ECF No. 140 at 2.
                                  28   3
                                           Id. at 5.

                                       ORDER – No. 20-cv-07073-YGR (LB)
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                                   1      The court denies the motion without prejudice and orders the parties to comply with the

                                   2   dispute procedures in the undersigned’s standing order (attached). The procedures in it require,

                                   3   among other things, that if a meet-and-confer by other means does not resolve the parties’ dispute,

                                   4   lead counsel for the parties must meet and confer in person (if counsel are local) and then submit a

                                   5   joint letter brief with information about any unresolved disputes. The letter brief must be filed

                                   6   under the Civil Events category of “Motions and Related Filings > Motions – General > Discovery

                                   7   Letter Brief.” After reviewing the joint letter brief, the court will evaluate whether future

                                   8   proceedings are necessary, including any further briefing or argument.

                                   9      IT IS SO ORDERED.

                                  10      Dated: July 8, 2022

                                  11                                                     ______________________________________
                                                                                         LAUREL BEELER
                                  12                                                     United States Magistrate Judge
Northern District of California
 United States District Court




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                                       ORDER – No. 20-cv-07073-YGR (LB)                   2
